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10
                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
12
     TRADER JOE’S COMPANY, a California             Case No. 3:23-cv-01148-CRB
13   corporation,
                                                    [PROPOSED] ORDER GRANTING
14                        Plaintiff,                PLAINTIFF’S EX PARTE MOTION FOR
                                                    PERMISSION TO EFFECT SERVICE OF
15          v.                                      PROCESS BY ALTERNATIVE MEANS
                                                    AND EXTENSION OF TIME TO SERVE
16   DESERTCART TRADING FZE, a United               DEFENDANT DESERTCART TRADING
     Arab Emirates company, PIFFERT INC., a         FZE
17   Delaware corporation, and DOES 1-5,
                                                    Date:    June 16, 2023
18                        Defendants.               Time:    10:00 a.m.
19                                                  Judge:   Hon. Charles R. Breyer

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                                                                  [PROPOSED] ORDER GRANTING
                                                              MOTION FOR ALTERNATIVE SERVICE
                                                                             3:23-CV-01148-CRB
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 1                                      [PROPOSED] ORDER
 2          The Court, having considered Plaintiff Trader Joe’s Company’s (“Trader Joe’s”) Motion
 3   for Permission to Effect Service of Process by Alternative Means (“Motion”), all papers and
 4   evidence submitted in support and opposition, the pertinent pleadings and papers on file in this
 5   action, and finding good cause to grant the Motion, hereby GRANTS the Motion.
 6          Trader Joe’s shall effect service of process on Defendant DesertCart Trading FZE
 7   (“DesertCart”) by email to support@desertcart.com and legal@desertcart.com.
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 9       IT IS SO ORDERED.
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11   Dated: ___________________                   _______________________________________
                                                  CHARLES R. BREYER
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                                                  SENIOR UNITED STATES DISTRICT JUDGE
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                                                                    [PROPOSED] ORDER GRANTING
                                                   -2-          MOTION FOR ALTERNATIVE SERVICE
                                                                                23-CV-01148-CRB
